Case 1:23-cv-00325-WCB        Document 242   Filed 03/12/25   Page 1 of 23 PageID #: 9709




                           IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF DELAWARE

   DELOITTE CONSULTING LLP and               )
   DELOITTE DEVELOPMENT LLC,                 )
                                             )
             Plaintiffs,                     )
                                             )
        v.                                   ) C.A. No. 23-325-WCB
                                             )
   SAGITEC SOLUTIONS, LLC,                   ) FILED UNDER SEAL
                                             )
             Defendant.                      )


             JOINT LETTER TO THE HONORABLE WILLIAM C. BRYSON
Case 1:23-cv-00325-WCB   Document 242   Filed 03/12/25   Page 2 of 23 PageID #: 9710
Case 1:23-cv-00325-WCB          Document 242         Filed 03/12/25      Page 3 of 23 PageID #: 9711




  discovery deadline impossible to meet. These open tasks include:

  1.     Deloitte’s two depositions of Mark Lanterman (scheduled for March 12) and Chris Madel
         (March 17), 2 which the Court granted Deloitte leave to take in its order dated February
         24, 2025, D.I. 231. As the Court observed at the February 24 hearing, just these two
         additional depositions would require an extension of fact discovery. Ex. 1 (Feb. 24, 2025
         Hearing Tr.) at 15:11–16:3 (“[W]hat I’m going to do is . . . order that the depositions of
         Lanterman and Madel be permitted . . . . Now, that would involve an extension of the
         period for fact discovery, but I think it’s justified in this case.”) (emphasis added). Cf.
         Evonik Degussa GMBH v. Materia Inc., No. 9 Civ. 636, 2011 WL 13152274, at *4 (D.
         Del. Dec. 13, 2011) (on motion to amend counterclaim, finding good cause to amend
         scheduling order under Rule 16 where the movant did not delay in taking depositions
         because “the “depositions could not reasonably be taken earlier because the parties’
         document production was not complete and because of other scheduling difficulties”).

  2.     Sagitec’s two additional depositions 3 of Deloitte’s former counsel Fish & Richardson
         (scheduled for March 13); 4 and Sagitec’s continued 30(b)(6) deposition of Deloitte for
         the additional topics the Court allowed Sagitec to pursue. D.I. 231. Sagitec has also
         sought additional time with three other Deloitte 30(b)(6) representatives (which Sagitec
         raised on February 17, 28, and March 5)on February 28), an issue the parties are currently
         negotiating. 5

  3.     Sagitec’s contention that it believes certain Deloitte interrogatories are deficient, raised
         for the first time during the February 24 hearing, and Deloitte’s agreed-to
         supplementation of those interrogatories, which it will provide to Sagitec on March 21.
         D.I. 232.

  4.     Additional document productions from third-party Computer Forensic Services, Mark
         Lanterman’s forensic consulting company, received by Deloitte on February 3 and
         February 28, 2025, totaling over 800 GB, which Deloitte is still diligently reviewing in

  2
    Sagitec claims that Mr. Lanterman and Mr. Madel were made available at earlier dates on
  which Deloitte “declined to proceed.” In fact, both depositions were originally scheduled to
  happen prior to the close of the original fact discovery period and had to be rescheduled due to
  Sagitec’s attempt to prevent Deloitte from seeking those depositions. Sagitec’s further argument
  that Deloitte could have taken these depositions “before Deloitte had used its original ten
  depositions” also ignores that Sagitec was going to oppose Deloitte’s request for additional
  depositions anyway, which would put the parties in the same position. See D.I. 223 at 1 (citing
  D.I. 219-3, 7/10/24 Olson email to Teleky). In any event, these depositions will now happen on
  the first available time that the parties are mutually available.
  3
    Sagitec informed Deloitte on March 4, 2025 that it would withdraw its deposition subpoena to
  former Deloitte employee Susan Shuler, which until then was scheduled for March 14, 2025.
  4
    Deloitte originally agreed to allow Sagitec’s deposition of Fish and Richardson to occur outside
  the fact discovery period when it was scheduled to occur within one week of the fact discovery
  period closing, a date which Sagitec unilaterally took off calendar and pushed back.
  5
    Sagitec has also indicated it may have additional concerns it has not yet raised, and purported
  to reserve its rights to identify more.


                                                   2
Case 1:23-cv-00325-WCB   Document 242   Filed 03/12/25   Page 4 of 23 PageID #: 9712
Case 1:23-cv-00325-WCB          Document 242        Filed 03/12/25     Page 5 of 23 PageID #: 9713




  moving to expert discovery. Sagitec’s self-serving confidence that “this case will be resolved at
  summary judgment” does not equate to prejudice; indeed, as the Court may expect, Deloitte does
  not share Sagitec’s belief that Sagitec’s prospective summary judgment arguments are
  meritorious or that they will entirely resolve this case before trial. And in any event,
                                                                                    by a four-week
  extension of these deadlines. Thus, any hypothetical prejudice to Sagitec does not outweigh the
  good cause to modify the scheduling order.

  Sagitec characterizes Deloitte’s request as a “sweeping four-week extension,” but the discovery
  period in this case has extended over more than 76 weeks. See D.I. 51 (scheduling order entered
  September 15, 2023). An addition of four weeks to the period in order to complete agreed-to
  depositions and other discovery constitutes an extension of about 5%. It is not a significant
  revision to the schedule. Moreover, Deloitte was diligent in pursuing its current discovery, and
  that discovery has already been agreed to or permitted by the Court. Sagitec’s alternative
  position is that the parties essentially ignore the fact discovery deadline and proceed outside of
  the schedule, rather than conforming the schedule to the status of the case as it has developed.
  The most practical solution for both parties is to allow the orderly completion of fact discovery,
  and then allow the parties to begin expert discovery.

  Thus, for the foregoing reasons, Deloitte requests that this Court grant its motion for a general
  four-week extension of the case deadlines as set forth in the table above, and subject to the same
  restrictions in the parties’ previous schedule extensions. See D.I. 205 at 2.

  Sagitec’s Position:

  Deloitte has failed to show good cause to again extend all remaining deadlines in this case. “A
  party seeking to modify a Scheduling Order must show ‘good cause’ for the change.” Dow
  Chem. Canada Inc. v. HRD Corp., 287 F.R.D. 268, 270 (D. Del. 2012); Fed. R. Civ. P. 16(b)(4)
  (“A schedule may be modified only for good cause and with the judge’s consent.”). “To establish
  good cause, [the moving party] must show that a more diligent pursuit of discovery was
  impossible.” Id. (emphasis added) (citation omitted). “To demonstrate the good cause necessary
  to allow for modification of a scheduling order, the moving party must demonstrate that, despite
  its own diligent efforts, scheduling deadlines cannot be met.” Siemens Med. Sols. v. Humedica
  Inc., C.A. No. 14-880-LPS-CJB, 2015 WL 1738186, at *1 (emphasis added) (citations omitted).
  Deloitte does not assert it cannot meet the opening expert report deadline of April 3, 2025 or that
  it would be impossible to do so. It merely suggests that a sweeping four-week extension would
  be more convenient for Deloitte. That is not good cause.

  The limited “open fact discovery tasks” that Deloitte identifies are of Deloitte’s own making and
  will not prevent Deloitte from meeting the remaining deadlines in the current Scheduling Order.
  In granting Deloitte’s belated request to take additional depositions, the Court expressly advised
  the parties that the limited remaining fact discovery should not “interfere with other scheduled
  events in the case.” Ex. 1 (Feb. 24, 2025 Hearing Tr.) at 15:16-16:3. The handful of remaining
  depositions and limited interrogatory supplementation by Deloitte will not interfere with the
  other scheduled events in this case, including the April 3, 2025 opening expert report deadline.
  As Deloitte’s requested fact discovery extension of March 28, 2025 reveals, both parties expect



                                                   4
Case 1:23-cv-00325-WCB          Document 242        Filed 03/12/25      Page 6 of 23 PageID #: 9714




  that the specific outstanding discovery tasks will all be accomplished in advance of that deadline:

      1. Deloitte’s depositions of Messrs. Lanterman and Madel will be done by March 17.
         Consistent with the Court’s direction to promptly complete the additional depositions
         Deloitte sought in its recent motion (Id.), Mr. Lanterman’s deposition is scheduled for
         March 12, and Mr. Madel’s deposition is scheduled for March 17. Both of these
         witnesses were available for their depositions on earlier dates (February 26 and March
         10, respectively), but Deloitte declined to proceed at those times. To the extent Deloitte
         believes testimony of Messrs. Lanterman or Madel is relevant to its expert reports,
         Deloitte will have ample time to incorporate that testimony into its opening expert reports
         due April 3, 2025. 9 If Deloitte wished to take their depositions earlier, it should have
         done so when Messrs. Lanterman and Madel were offered for deposition in July and
         August of 2024, before Deloitte had used its original ten depositions. Deloitte’s choice to
         wait until February 2025 to seek leave for additional depositions, rather than proceeding
         with Messrs. Lanterman and Madel’s depositions in July or August 2024, does not show
         the diligence that Deloitte claims.

      2. Sagitec will complete the depositions of Deloitte-affiliated witnesses by March 13
         unless Deloitte delays its depositions further. At this time, only two Sagitec-noticed
         depositions remain: Fish & Richardson (Deloitte’s legal counsel responsible for certain
         pre-suit communications with Sagitec and alleged Deloitte copyright registrations), and
         additional Deloitte 30(b)(6) testimony on Topics 60 and 119 ordered by the Court. 10
         Sagitec previously noticed the deposition of Deloitte’s counsel to take place during the
         discovery period, but agreed to take the deposition outside of the scheduled fact
         discovery period as an accommodation to Fish & Richardson. This deposition is
         scheduled for March 13.

         Deloitte’s testimony on two remaining Rule 30(b)(6) topics ordered by the Court has no
         bearing on the opening expert report deadline. Deloitte has thus far not provided
         availability for Topics 60 or 119, despite Sagitec’s requests, but presumably Deloitte will
         make its witness(es) available before opening expert reports are due. Moreover, Deloitte
         already designated Annica Jin-Hendel for Court-ordered Topics 126 and 127, and she


  9
    Sagitec disputes Deloitte’s assertion that Sagitec has asserted that “these witnesses and their
  investigation represent all of Sagitec’s knowledge on the topics of
                                .” See supra, at 3 (emphasis original). For this proposition, Deloitte
  cites Sagitec’s interrogatory responses that Deloitte submitted with letter briefing on February
  19, 2025. Id. (citing D.I. 219, Ex. 1, at 15-16). Deloitte ignores that Sagitec supplemented this
  response on May 31, 2024, identifying additional material Sagitec had identified and additional
  searches that Sagitec had run. D.I. 219, Ex. 1, at 18-21. Sagitec also supplemented this response
  on February 28, 2025 to account for (1) Mr. Kotcherlakota’s interviews of 17 Sagitec employees
  and his continued deposition on February 21, 2025, per the Court’s Order at D.I. 193, and (2)
  Sagitec’s investigation, keyword searches, and production of documents in this case. See Ex. 2
  (Excerpt of Sagitec’s Third Supplemented Objections and Responses to Plaintiffs’ First Set of
  Interrogatories) at 21-22.
  10
     Sagitec has withdrawn its deposition subpoena of Susan Shuler.


                                                   5
Case 1:23-cv-00325-WCB   Document 242   Filed 03/12/25   Page 7 of 23 PageID #: 9715
Case 1:23-cv-00325-WCB          Document 242         Filed 03/12/25       Page 8 of 23 PageID #: 9716




         and nine days before Mr. Lanterman’s then-scheduled deposition—that Deloitte first
         requested a meet and confer. Deloitte has never explained why it waited over three
         months to follow up on CFS’s objections and responses. More importantly, Deloitte has
         not explained how the CFS production timeline, resulting from Deloitte’s inaction, has
         impeded Deloitte’s desired discovery.

  While Deloitte states further depositions “bear directly on” its expert reports, it does not argue
  that it requires any remaining discovery to be completed before it begins preparing its expert
  reports. Nor could it. Sagitec made its source code available for inspection in November 2023,
  and Deloitte began inspecting it in December 2023. See also Ex. 3 (Excerpt of Sept. 13, 2023
  Hearing Tr.) at 31:19-23 (“[W]ouldn’t it be useful as a means of moving the civil case along for
  discovery to be conducted, such that the source code of the Neosurance was made available to
  the plaintiffs, for example?”). Deloitte’s most recent and ongoing inspection began on March 3,
  2025, involving three on-site reviewers. Sagitec produced complete financial statements in
  December 2023. Deloitte completed its Rule 30(b)(6) depositions in the current fact discovery
  period, including depositions in July and August of 2024. In short, Deloitte already has what it
  needs to prepare expert reports, so it cannot show good cause to move expert deadlines.

  The Court’s indication that trial is not likely to occur until December 2025 or January 2026 also
  does not justify Deloitte’s requested extension. If this is a “lack of prejudice” argument, it is not
  relevant to Deloitte’s requirement to show good cause. See MacQueen v. Union Carbide Corp.,
  C.A. No. 13-831-SLR-CJB, 2015 WL 167674, at *3 (“[W]hether Rule 16(b)(4)’s good cause
  requirement is met depends on the ‘diligence of the movant, and not on prejudice to the non-
  moving party.’”) (citation omitted).

  Even if Deloitte could meet its burden to show good cause, however, the prejudice to Sagitec
  weighs against the proposed extension. See Dow Chem. Canada Inc., 287 F.R.D. at 270 (“In
  deciding whether to modify a scheduling order, the Court may consider any prejudice to the
  party opposing the modification. . . . Prejudice may include the delay of a trial date.”) (citations
  omitted). There is compelling evidence that Deloitte does not own the alleged intellectual
  property it asserts in this case and that Deloitte’s claims are barred by applicable statutes of
  limitation. As a result, Sagitec believes that this case will be resolved at summary judgment, as
  Sagitec adverted in prior motion practice. See, e.g., D.I. 102 (statute of limitations); D.I. 171
  (ownership); D.I. 176 (trade secret status). In the meantime,
                                                     . Sagitec would be prejudiced by further delay in
  the resolution of this case. Fact discovery was originally set to close in April 2024, with
  summary judgment to be fully briefed by October 4, 2024, and trial to occur in December 2024.
  D.I. 51. Instead, Deloitte has had the benefit of several extensions of case deadlines to take
  extensive discovery of Sagitec and third parties and to work towards preparing its opening expert
  reports. See D.I. 76, 100, 153, 168, 198, 205. Sagitec is eager to resolve Deloitte’s allegations on
  the merits at summary judgment and, if necessary, at trial. Further, as the Court acknowledged,
  currently-filled trial blocks may become available later. Ex. 1 (Feb. 24, 2025 Hearing Tr.) at
  50:22-51:6 (“It’s possible, and you never know, but something may open that will allow me to
  schedule a trial before [the beginning of 2026]. And if so, then I will get back to you and see if
  that’s acceptable, given your schedules. I would like to get these cases disposed of as quickly as
  possible[.]”). Deloitte’s proposal would foreclose the potential use of an earlier trial block should
  the parties need to try the case, and it would mean that Sagitec would have to wait even longer to


                                                    7
Case 1:23-cv-00325-WCB          Document 242        Filed 03/12/25      Page 9 of 23 PageID #: 9717




  clear its name, further prejudicing Sagitec. Deloitte’s suggestion that this four-week extension is
  “not a significant revision to the schedule” because fact discovery has already extended 76 weeks
  (well over a year) only underscores the point that this case has gone on long enough.

  Sagitec has repeatedly confirmed that it will allow Deloitte the time reasonably necessary to
  allow for the orderly completion of the limited remaining discovery noted above. According to
  the dates Deloitte identifies for this limited discovery, it appears that the remaining depositions
  can be completed by March 17, 2025. This limited discovery should not, however, require
  moving the remaining case deadlines which Deloitte has known about for months, including the
  April 3, 2025 deadline for opening expert reports. See Golo, LLC v. Golo Nutrition, Inc., C.A.
  No. 20-667-RGA-SRF, 2023 WL 183980, at *1-2 (D. Del. Jan. 13, 2023) (granting limited fact
  discovery extension to conduct five remaining depositions, allowing just three days between
  close of fact discovery and service of opening expert reports).

  Deloitte has not shown good cause to modify the rest of the Court’s schedule. Accordingly,
  Sagitec respectfully requests that the Court deny Deloitte’s motion to extend all other case
  deadlines so that this case may timely proceed to summary judgment and, if necessary, trial.



                                                Respectfully submitted,

                                                /s/ Andrew E. Russell

                                                Andrew E. Russell (No. 5382)



  cc:    Clerk of Court (by CM/ECF)
         All Counsel of Record (by CM/ECF & Email)




                                                   8
Case 1:23-cv-00325-WCB   Document 242 Filed 03/12/25   Page 10 of 23 PageID #:
                                   9718




                           EXHIBIT 1
Case 1:23-cv-00325-WCB    Document 242 Filed 03/12/25       Page 11 of 23 PageID #:
                                    9719



                                                                        Page 1

1                                Discovery Dispute
2         Deloitte Consulting, et al. vs. Sagitec Solutions
3
4                         Civil Action No. 23-325-WCB
5
6
7                 Moderated by Honorable William Bryson
8                          Monday, February 24, 2025
9                                     10:00 a.m.
10
11
12                               Remote Proceeding
13                            Wilmington, DE 19801
14
15
16
17
18
19    Reported by:         Carlo Florio
20    JOB NO:              7187375
21
22
23
24


                                  Veritext Legal Solutions
                215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 1:23-cv-00325-WCB   Document 242 Filed 03/12/25       Page 12 of 23 PageID #:
                                   9720



                                                                     Page 15

1     list.
2                        That does not strike me as this case.
3     And as I say, many of these cases have been reasonably
4     flexible about allowing additional depositions.
5                        Now, the ones that have not, by and
6     large look quite different from this case.                    They have
7     involved one case in which the party sought 75
8     additional depositions, another one I think 26
9     additional depositions, and many of them looked
10    conspicuously cumulative.
11                       This does not strike me that that way.
12    So I think I'm going to -- what I'm going to do is
13    argue, or rather order, that the depositions of
14    Lanterman and Madell be permitted, not Minkkinen and
15    Sambasivam, and that they should be held promptly.
16                       Now, I don't know what the schedule is
17    that they could necessarily meet, but "promptly" to me
18    means in the next couple of weeks.                 Now, that would
19    involve an extension of the period for fact discovery,
20    but I think it's justified in this case.
21                       And rather than putting an artificial
22    date out there, I will rely on the parties to work
23    together in light of the witnesses' schedules to come
24    up with dates for this testimony.


                                 Veritext Legal Solutions
               215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 1:23-cv-00325-WCB    Document 242 Filed 03/12/25       Page 13 of 23 PageID #:
                                    9721



                                                                      Page 16

1                         I don't want it to be put off for a
2     long period of time, which would interfere with other
3     scheduled events in the case.
4                         So that, as far as I'm concerned, is
5     what all that needs to be said about the Deloitte
6     request.
7                         Now, with respect to Sagitec's
8     requests, these are more difficult in the sense that
9     they are more technical.             And I would like to hear
10    from the parties on these.
11                        And particularly, let me start by
12    asking Deloitte.         How many 30(b)(6) topics did you
13    request testimony on, Deloitte?
14                        MR. TELEKY:         I'd have to go back and
15    check to get the exact number, but I believe it was in
16    the ballpark of around 50.
17                        THE COURT:        Fifty.      Okay.     Well, these
18    kinds of numbers are to me, 50, and in the case of
19    Sagitec, 127, are mighty large.                I don't know what
20    your experience is, but I've been sitting by
21    designation for now, I guess, 14 years.
22                        And I've seen a lot of disputes over
23    30(b)(6) topics and so forth.               I've never seen 127
24    topics.     So this has, I have to confess, affected my


                                  Veritext Legal Solutions
                215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 1:23-cv-00325-WCB   Document 242 Filed 03/12/25       Page 14 of 23 PageID #:
                                   9722



                                                                     Page 49

1                        THE COURT:        Right.
2                        MR. OLSON:        -- without needing to come
3     back before Your Honor.
4                        THE COURT:        Right.      I would hope you
5     will do your very best.
6                        MR. OLSON:        Absolutely.
7                        THE COURT:        I enjoy the opportunity to
8     get to know the lawyers, but I don't enjoy having to
9     spend a weekend preparing for one of these sessions
10    and then having to make the decisions on the fly.
11                       So resolution of these things in house
12    is, as far as I'm concerned, very much preferred.                      But
13    if you can't, then you know where to reach me.
14                       MR. OLSON:        We'll do our best, Your
15    Honor.
16                       THE COURT:        All right.
17                       MR. OLSON:        And one -- sorry, one other
18    housekeeping point.
19                       THE COURT:        Oh, yes, go ahead.
20                       MR. OLSON:        When we had spoke last
21    year, I think Your Honor indicated that trial might
22    take place late fall at the earliest.                  We were just
23    wondering if Your Honor had any updates or if you
24    anticipated trial occurring at a different time?


                                 Veritext Legal Solutions
               215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 1:23-cv-00325-WCB    Document 242 Filed 03/12/25       Page 15 of 23 PageID #:
                                    9723



                                                                      Page 50

1                         THE COURT:        Well, I don't think that
2     there's any chance of having a trial before fall.                       I
3     have -- not to trouble you with my schedule, but I
4     will trouble you with my schedule anyway.
5                         But I have a trial some every month
6     between April and October, November, and December
7     scheduled.      And with sitting in the Court of Appeals
8     every month, I really can't do more than one, or in
9     the case of very short trials, maybe two trials in a
10    month.
11                        So I'm not expecting that there will be
12    able to be a trial before probably maybe December, but
13    probably not until January or later.
14                        Now, you all had a -- there was a
15    mediation stay as I recall, and that kind of threw
16    things a little bit off-kilter for timing.
17                        In the meantime, not knowing what would
18    happen with the mediation, I was filling slots for
19    trials.     But now, I think we're really looking to
20    pushing it back to the beginning of 2026,
21    realistically.
22                        It's possible, and you never know, but
23    something may open that will allow me to schedule a
24    trial before then.          And if so, then I will get back to


                                  Veritext Legal Solutions
                215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 1:23-cv-00325-WCB   Document 242 Filed 03/12/25       Page 16 of 23 PageID #:
                                   9724



                                                                     Page 51

1     you and see if that's acceptable, given your
2     schedules.
3                        I would like to get these cases
4     disposed of as quickly as possible, but I haven't had
5     a whole lot of settlements in cases recently for
6     whatever reason.        And as a result, I'm pretty much
7     booked through the end of the year.                 Okay?
8                        All right.        If no one has anything
9     further, we'll be adjourned.              I'll stay on the line
10    with the court reporter for any questions that he may
11    have that I can help with names, or I don't know that
12    we cited any cases, but any information that he needs
13    that I can help with.
14                       But for everyone else, we're adjourned
15    and I hope that you can work the remaining issues out.
16                       I think in light of what we've agreed
17    to today or what I've ordered and you've agreed to do,
18    I think there's nothing that I need to put in an order
19    at this point.
20                       If one of you would like an order, I'm
21    happy to do it.       If you'd feel more comfortable with a
22    written order, I'm happy to do that.                  But if you think
23    that you've got the information you need going forward
24    without an order, I'm happy not to enter an order on


                                 Veritext Legal Solutions
               215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 1:23-cv-00325-WCB   Document 242 Filed 03/12/25   Page 17 of 23 PageID #:
                                   9725




                           EXHIBIT 2
    REDACTED IN ITS ENTIRETY
Case 1:23-cv-00325-WCB   Document 242 Filed 03/12/25   Page 18 of 23 PageID #:
                                   9726




                           EXHIBIT 3
Case 1:23-cv-00325-WCB     Document 242 Filed 03/12/25       Page 19 of 23 PageID #:
                                     9727


                                                                         Page 1

 1                  IN THE UNITED STATES DISTRICT COURT
 2                       FOR THE DISTRICT OF DELAWARE
 3    ________________________________
 4    DELOITTE CONSULTING LLP,
 5                  Plaintiff,
 6          v.                                                 Case No.
 7    SAGITEC SOLUTIONS LLC,                                   23CV325WCB
 8                  Defendant.
 9    ________________________________
10                             TELEPHONIC HEARING
11    DATE:                Wednesday, September 13, 2023
12    TIME:                2:00 p.m.
13    BEFORE:              Honorable William C. Bryson
14    LOCATION:            Remote Proceeding
15                         Wilmington, DE 19801
16    REPORTED BY:         Ciarra Armstrong, Notary Public
17    JOB NO.:             6101336
18
19
20
21
22
23
24


                                   Veritext Legal Solutions
                 215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 1:23-cv-00325-WCB                    Document 242 Filed 03/12/25               Page 20 of 23 PageID #:
                                                    9728

                                                      Page 2                                                       Page 4
    1           APPEARANCES                                     1               EXHIBITS
    2 ON BEHALF OF PLAINTIFF DELOITTE CONSULTING LLP:           2 NO.           DESCRIPTION                     ID/EVD
    3    JOHN W. SHAW, ESQUIRE (by telephone)                   3               (None marked.)
    4    Shaw Keller LLP                                        4
    5    1105 North Market Street, 12th Floor                   5
    6    Wilmington, DE 19801                                   6
    7    jshaw@shawkeller.com                                   7
    8    (302) 298-0700                                         8
    9                                                           9
   10    JOSHUA L. SIMMONS, ESQUIRE (by telephone)             10
   11    Kirkland & Ellis LLP                                  11
   12    601 Lexington Avenue, Floor 50                        12
   13    New York, NY 10022                                    13
   14    joshua.simmons@kirkland.com                           14
   15    (212) 446-4989                                        15
   16                                                          16
   17    PATRICK ARNETT, ESQUIRE (by telephone)                17
   18    Kirkland & Ellis LLP                                  18
   19    1301 Pennsylvania Avenue Northwest                    19
   20    Washington, DC 20004                                  20
   21    patrick.arnett@kirkland.com                           21
   22    (202) 389-5160                                        22
   23                                                          23
   24                                                          24
                                                      Page 3                                                       Page 5
     1       A P P E A R A N C E S (Cont'd)                     1            PROCEEDINGS
     2 ON BEHALF OF DEFENDANT SAGITEC SOLUTIONS LLC:            2           MR. SHAW: Good afternoon, Your Honor.
     3   ANNE SHEA GAZA, ESQUIRE (by telephone)                 3 This is John Shaw from Shaw Keller LLP, and joining me
     4   ROBERT VRANA, ESQUIRE (by telephone)                   4 are Josh Simmons and Patrick Arnett from Kirkland &
     5   Young Conaway Stargatt & Taylor LLP                    5 Ellis.
     6   1000 North King Street, Rodney Square                  6           THE COURT: Okay. And who is going to
     7   Wilmington, DE 19801                                   7 be speaking today?
     8   agaza@ycst.com                                         8           MR. SIMMONS: Your Honor, this is Mr.
     9   rvrana@ycst.com                                        9 Simmons. I'll be addressing the motion to stay and
    10   (302) 571-6600                                        10 motion for more definite statement. Mr. Arnett will
    11                                                         11 address any questions on the motion with regard to
    12   CHRISTOPHER LARUS, ESQUIRE (by telephone)             12 personal jurisdiction and venue.
    13   DAVID PRANGE, ESQUIRE (by telephone)                  13           THE COURT: Okay. Now who do we have
    14   BRANDON A. CARMACK, ESQUIRE (by telephone)            14 for the defendant?
    15   Robins Kaplan LLP                                     15           MS. GAZA: Good afternoon, Your Honor.
    16   800 LaSalle Avenue, Suite 2800                        16 It's Anne Gaza and Rob Vrana from Young Conaway on
    17   Minneapolis, MN 55402                                 17 behalf of Defendant Sagitec Solutions. And we are
    18   clarus@robinskaplan.com                               18 joined by Chris Larus, David Prange, and Brandon
    19   dprange@robinskaplan.com                              19 Carmack of Robins Kaplan.
    20   bcarmack@robinskaplan.com                             20           THE COURT: Okay. And who will be
    21   (612) 349-8500                                        21 speaking today?
    22                                                         22           MR. LARUS: Good afternoon, Your Honor.
    23                                                         23 This is Chris Larus, and I will be addressing the
    24                                                         24 motion to stay, and my partner, David Prange, will be

                                                                                                        2 (Pages 2 - 5)
                                            Veritext Legal Solutions
                          215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 1:23-cv-00325-WCB                 Document 242 Filed 03/12/25                        Page 21 of 23 PageID #:
                                                 9729

                                                          Page 30                                                        Page 32
     1 bit from deciding whether to seek a preliminary               1 that this question bridges into the next motion or one
     2 injunction is we don't have the documents, and it's a         2 of the sub -- future motions about our request for a
     3 little hard to bring a preliminary injunction to Your         3 more definite statement, but --
     4 Honor without having those.                                   4            THE COURT: Okay. Well, I'm throwing
     5            You know, we have sort of seen the                 5 this out because it seems to me that there are some
     6 indictment, obviously. We'd like to actually know             6 things that could be done in the civil case, and this
     7 what's going on, but we're not taking a preliminary           7 is one that comes immediately to mind, and it was
     8 injunction off the table.                                     8 alluded to, I think, by Mr. Simmons.
     9            But certainly a permanent injunction is            9            But I would think that that would be
    10 certainly something that Deloitte is seeking.                10 very revealing. If it turns out that the source code
    11            THE COURT: Okay. If that is all you               11 doesn't look anything like Deloitte's product, then
    12 have, I have read the briefs and I'm aware of the            12 who knows? Maybe the case is over.
    13 factors, so I think you have covered the areas other         13            If it looks exactly like what
    14 than simply walking through the factors, which I think       14 Deloitte's product is, then that would be pretty
    15 would not be all that useful.                                15 significant.
    16            So let's move on. Actually, I tell you            16            Why isn't that something that could
    17 what. I will give, if he wants it, Mr. Larus an              17 advance the civil case without creating the kinds of
    18 opportunity to rebut on this if there's anything that        18 risks that you've been emphasizing or presented by
    19 he would like to say. Keeping in mind that the time          19 having two criminal defendants who are, I think we can
    20 is moving along. Mr. Larus?                                  20 all agree, more or less in the middle of the civil as
    21            MR. LARUS: Thank you, Your Honor.                 21 well as the criminal case?
    22 Very briefly, and I will be cognizant of time.               22            MR. LARUS: Your Honor, if we had a
    23            Counsel for Deloitte has said that it             23 sufficient identification of Deloitte's purported
    24 was unclear to him what facts would be at issue, or we       24 claimed secrets, that type of comparison might well be
                                                          Page 31                                                        Page 33
     1 would be obstructed from knowing in terms of if we            1 something that could move forward.
     2 were forced to respond now to the complaint and engage        2           There would be some inefficiencies,
     3 in discovery.                                                 3 perhaps, of a bifurcated discovery like that, but we
     4            We would start with exactly what's                 4 would agree that that would be something that could
     5 reflected in paragraph 43 of Deloitte's complaint,            5 potentially move forward. We're quite confident of
     6 which contains specific factual allegations regarding         6 what we understand the outcome of that to be.
     7 the conduct of Mr. Sambasivam and Mr. Minkkinen that          7           We believe it would be appropriate only
     8 forms the very underlying basis of this entire trade          8 after there was a clear identification of the claimed
     9 secret claim.                                                 9 trade secrets so that we don't have a situation in
    10            That's the information that we don't              10 which Deloitte is obtaining discovery regarding
    11 have access to during the limited period of time in          11 Sagitec's perhaps most confidential information.
    12 which these two individuals are subject to criminal          12           Poking around and then trying to
    13 jeopardy --                                                  13 identify what it contends might support a trade secret
    14            THE COURT: Let me ask you this                    14 claim. But if there were a proper identification, I
    15 question. Let me ask you this question.                      15 don't disagree that that's a limited scope that might
    16            In the nature of things that could be             16 be appropriate.
    17 done in the civil case without tramping on the rights        17           THE COURT: All right. Okay. let's
    18 of any indicted individuals or otherwise of getting in       18 move on now. I think that logically now, we've
    19 the way of the criminal proceedings, wouldn't it be          19 already crossed over the logical threshold, but let's
    20 useful as a means of moving the civil case along for         20 move to the motion to dismiss and the motion to
    21 discovery to be conducted, such that the source code         21 transfer.
    22 of the Neosurance was made available to the                  22           Who is going to speak on that from the
    23 plaintiffs, for example?                                     23 defendant's point of view? Is that Mr. Prange?
    24            MR. LARUS: Well, Your Honor, I think              24           MR. PRANGE: Yes, Your Honor. David

                                                                                                           9 (Pages 30 - 33)
                                          Veritext Legal Solutions
                        215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 1:23-cv-00325-WCB                 Document 242 Filed 03/12/25                        Page 22 of 23 PageID #:
                                                 9730

                                                          Page 82                                                        Page 84
     1 what their trade secrets are, rather than describing          1 and used it to build Neosurance.
     2 generalized categories, which the cases that we have          2           And what I would say about that is, you
     3 cited in our brief have said that is not enough.              3 know, we think our other allegations are sufficient,
     4           But really it gets to the practical                 4 but even that, you know, is in line with Oakwood.
     5 point of the problem, which is, from what I have heard        5           And I would just direct the court back
     6 today, is that Deloitte wants to go on a fishing              6 to the You Map vs. Snap case that we cited in our --
     7 expedition.                                                   7 in our briefing, which said that if you find that
     8           What they want to do, and the concern               8 there is sufficient trade secret identification for
     9 that we have, is they want to get to discovery in             9 anything, then the better course is deny the Rule 12E
    10 order to have a disclosure of our source code, in            10 motion because we're going to end up in discovery
    11 order to look at that, and tailor their identification       11 anyway.
    12 based on what our source code does.                          12           And it sort of is putting the cart
    13           That's not appropriate. What is                    13 before the horse and delaying the case, which is
    14 appropriate is that right now Deloitte should be able        14 exactly why the case is like Shadler, "Hey. You
    15 to identify exactly what their trade secrets are             15 shouldn't be spending the courts time on a motion for
    16 because that is what it means when they sign the             16 more definite statement if it's just going to delay
    17 complaint; is that they have done their due diligence        17 the case."
    18 to say they have trade secrets.                              18           THE COURT: Okay. All right. I think
    19           If that's the case, then they can                  19 we've exhausted the subject matter, if not all of us
    20 disclose them now.                                           20 and the court reporter, but thank you for your
    21           And so that we don't have this issue,              21 arguments. And I thank the court reporter for hanging
    22 so we can understand the plausibility of their               22 with us on this.
    23 complaint and figure out whether they are actually           23           It was a long session, but I think one
    24 stating something that we can then go either to              24 that had a lot of substance in it, and I appreciate
                                                          Page 83                                                        Page 85
     1 challenge on a 12C motion or proceed into discovery.          1 the attorney's presentations.
     2 Thank you, Your Honor.                                        2           What I'm going to do is I will adjourn
     3            THE COURT: All right. I tell you                   3 the session, and then I will stay on the line for a
     4 what? I would like to hear from Mr. Summers briefly           4 couple of minutes with the court reporter to help out
     5 on one point that was raised in rebuttal that I think         5 if there were any case names or names of parties or
     6 had not come up before or at least had not come up            6 other things that the court reporter may not have
     7 with specificity, and that is the reference to the            7 caught and try to assist. So for now, we're
     8 specific document in Oakwood that Mr. Prange alluded          8 adjourned, and off the record.
     9 to.                                                           9           (Whereupon, at 3:44 p.m., the
    10            Mr. Simmons, do you have any response             10           proceeding was concluded.)
    11 on that point?                                               11
    12            MR. SIMMONS: Yes, Your Honor. So I                12
    13 think the document was just one of the allegations.          13
    14            There were other -- you know, the court           14
    15 actually describes in page 907 a variety of things           15
    16 that it said are sufficient, including the description       16
    17 and the document.                                            17
    18            But as I said in my opening remarks, we           18
    19 did reference a document. We referenced the uFACTS           19
    20 solution framework documentation at paragraph 48 of          20
    21 the complaint.                                               21
    22            And that document is hundreds of pages            22
    23 of detailed descriptions of the functionality of the         23
    24 uFACTS framework, and we allege that Sagitec took it,        24

                                                                                                         22 (Pages 82 - 85)
                                          Veritext Legal Solutions
                        215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 1:23-cv-00325-WCB             Document 242 Filed 03/12/25   Page 23 of 23 PageID #:
                                             9731

                                                     Page 86
    1         CERTIFICATE OF DEPOSITION OFFICER
    2        I, CIARRA ARMSTRONG, the officer before whom
    3 the foregoing proceedings were taken, do hereby
    4 certify that any witness(es) in the foregoing
    5 proceedings, prior to testifying, were duly sworn;
    6 that the proceedings were recorded by me and
    7 thereafter reduced to typewriting by a qualified
    8 transcriptionist; that said digital audio recording of
    9 said proceedings are a true and accurate record to the
   10 best of my knowledge, skills, and ability; that I am
   11 neither counsel for, related to, nor employed by any
   12 of the parties to the action in which this was taken;
   13 and, further, that I am not a relative or employee of
   14 any counsel or attorney employed by the parties
   15 hereto, nor financially or otherwise interested in the
   16 outcome of this action.        <%24149,Signature%>
   17
   18                            CIARRA ARMSTRONG
   19                    Notary Public in and for the
   20                          State of New Jersey
   21
   22
   23
   24
                                                     Page 87
    1           CERTIFICATE OF TRANSCRIBER
    2        I, EBELIN MORALES, do hereby certify that
    3 this transcript was prepared from the digital audio
    4 recording of the foregoing proceeding, that said
    5 transcript is a true and accurate record of the
    6 proceedings to the best of my knowledge, skills, and
    7 ability; that I am neither counsel for, related to,
    8 nor employed by any of the parties to the action in
    9 which this was taken; and, further, that I am not a
   10 relative or employee of any counsel or attorney
   11 employed by the parties hereto, nor financially or
   12 otherwise interested in the outcome of this action.
   13
   14                        <%30207,Signature%>
   15                             EBELIN MORALES
   16
   17
   18
   19
   20
   21
   22
   23
   24

                                                                            23 (Pages 86 - 87)
                                       Veritext Legal Solutions
                     215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
